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                                                                                     [ECF No. 56]

                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


 W.M.,
                                                     Civil No. 22-3707 (RBK)(EAP)
                      Plaintiff,

         v.                                          ORDER ON MOTION TO SEAL

 J.O., et al.,

                      Defendants.



        This matter comes before the Court upon Plaintiff’s Motion to Seal, ECF No. 56, seeking

to permanently seal certain documents filed on the docket of this matter. The Court has considered

Plaintiff’s submission and notes that no opposition has been filed. The Court decides this matter

without oral argument pursuant to Federal Rule of Civil Procedure 78(b) and Local Civil Rule

78.1(b). For the reasons that follow, and for good cause shown, Plaintiff’s Motion to Seal is

GRANTED.

        Plaintiff requests that the Court permanently seal the documents filed as ECF Nos. 49, 54,

and 55. These documents include Defendant J.O.’s motion for spoliation sanctions, see ECF No.

49; Plaintiff’s brief in opposition and cross-motion to bar Defendant’s expert report, see ECF No.

54; and Defendant’s reply brief in support of Defendant’s motion for spoliation sanctions and brief

in opposition to Plaintiff’s cross-motion, see ECF No. 55. These documents contain sensitive and

confidential information, including Plaintiff’s allegations of sexual abuse perpetrated by

Defendant and another relative.

        Pursuant to Local Civil Rule 5.3(c), a party filing a motion to seal must describe “(a) the

nature of the materials or proceedings at issue; (b) the legitimate private or public interest which
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warrants the relief sought; (c) the clearly defined and serious injury that would result if the relief

sought is not granted; (d) why a less restrictive alternative to the relief sought is not available; (e)

any prior order sealing the same materials in the pending action; and (f) the identity of any party

or nonparty known to be objecting to the sealing request.”

       Here, the Court finds that Plaintiff has satisfied the requirements of Local Civil Rule 5.3(c)

and demonstrated that “good cause” exists to restrict public access to the relevant material. The

documents sought to be sealed are confidential and highly sensitive in nature; the Plaintiff has a

legitimate interest in maintaining the privacy of the allegations of sexual abuse; and Defendant has

a legitimate interest in keeping the allegations against Defendant confidential. The release of the

information contained in the briefing and attachments in the relevant documents would result in a

clearly defined and serious injury to the parties and non-parties alike. A less restrictive alternative

is not available because the full contents of the documents contain highly sensitive, confidential

material. Lastly, no party objects to the sealing of these documents. Accordingly, the Court

concludes that a balance of the factors enunciated in Local Civil Rule 5.3(c) weigh in favor of

permanently sealing the documents filed as ECF Nos. 49, 54, and 55.

       THEREFORE, IT IS this 30th day of January 2024;

       ORDERED that Plaintiff’s Motion to Seal, ECF No. 56, is GRANTED; and it is further

       ORDERED that the documents filed as ECF Nos. 49, 54, and 55 shall be maintained under

seal by the Court.

                                                       s/ Elizabeth A. Pascal
                                                       ELIZABETH A. PASCAL
                                                       United States Magistrate Judge


cc: Hon. Robert B. Kugler, U.S.D.J.




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